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                                                                                   2020 Aug-21 PM 03:58
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

 PEOPLE FIRST OF ALABAMA, ET )
                 AL.,        )
                             )
     Plaintiffs,             )
                             )                     Civil Action Number
 v.                          )                     2:20-cv-00619-AKK
                             )
 JOHN MERRILL, ET AL.,       )
                             )
     Defendants.             )

                                CONSENT ORDER

      Plaintiffs People First of Alabama, Robert Clopton, Eric Peebles, Howard

Porter, Jr., Annie Carolyn Thompson, Greater Birmingham Ministries, the Alabama

State Conference of the NAACP, Black Voters Matter Capacity Building Institute,

Teresa Bettis, Sheryl Threadgill-Matthews, and Gregory Bentley (collectively,

“Plaintiffs”) filed this action against Defendants Secretary of State John Merrill, the

State of Alabama, JoJo Schwarzauer, Jacqueline Anderson-Smith, Karen Dunn

Burks, James Majors, Gina Jobe Ishman, Debra Kizer, Ruby Jones Thomas, Johnnie

Mae King, Carolyn Davis-Posey, Sherri Friday, James Naftel II, Bill English, Don

Davis, Lashandra Myrick, Frank Barger, J.C. Love III, and Britney Jones-Alexander,

in their official capacities (collectively, “Defendants”).

      In the Amended Complaint, doc. 75, Plaintiffs allege that Defendants have

enforced election laws and policies that violate the U.S. Constitution, the Voting


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Rights Act of 1965 (“VRA”), and the Americans with Disabilities Act of 1990

(“ADA”) and that Defendants have failed to protect the right to vote of Alabamians

amid the COVID-19 pandemic.

         Specifically, in the Amended Complaint, Plaintiffs seek to enjoin (1) the strict

limitations on the categories of registered voters who may request and cast an

absentee ballot, Ala. Code § 17-11-3;1 (2) the requirement that the affidavit that must

be included with an absentee ballot be signed by a voter in the presence of either a

notary or two adult witnesses, id. §§ 17-11-7 to 17-11-10; (3) the requirement that

copies of photo identification accompany absentee ballot applications, id. § 17-9-

30(b), and certain absentee ballots, id. §§ 17-11-9 and 17-11-10(c); and (4) the

State’s de facto ban on curbside voting (collectively, the “Challenged Provisions”).

         This Consent Order is entered into by and between Plaintiffs and Defendants

Jacqueline Anderson-Smith, Karen Dunn Burks, Sherri Friday, and James Naftel II,

in their official capacities as the Circuit Clerk and Probate Judges of Jefferson

County, Alabama (collectively, “Jefferson County Defendants”) only. Plaintiffs and

the Jefferson County Defendants are collectively referred to herein as “the Parties.”

         The Parties, through counsel, have discussed the allegations and exchanged

relevant information, and agree that this action should be settled without further

protracted and costly litigation. The Parties share the goal that all voting procedures


1
    The court dismissed Plaintiffs’ challenge to the excuse requirement as moot. Doc. 161 at 4–6.

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shall comply with the U.S. Constitution, the VRA, the ADA, and other civil rights

laws. The parties have agreed to the entry of this Consent Order as an appropriate

resolution of this action. The parties hereby stipulate to the following:

                                       FACTS

      1.     This Court has subject matter jurisdiction over Plaintiffs’ claims under

28 U.S.C. §§ 1331 and 1361. The Court has personal jurisdiction over the Jefferson

County Defendants, who are sued in their official capacities as government officials

for actions undertaken in such capacities.

      2.     James Naftel II is the Judge of Probate, Place 1, of Jefferson County,

Alabama, and the chief election official in Jefferson County. As such, he is directly

responsible for the conduct of federal, state, and county elections in Jefferson

County, and is charged under Alabama law with enforcing the Challenged

Provisions and other election-administration duties, including but not limited to

training poll workers and validating and canvassing election returns and ballots.

      3.     Sherri Friday is the Judge of Probate, Place 2, of Jefferson County,

Alabama. She shares responsibility with Judge Naftel for the conduct of federal,

state, and county elections in Jefferson County, and is charged under Alabama law

with enforcing the Challenged Provisions and other election-administration duties.

      4.     Jacqueline Anderson-Smith is the Circuit Clerk and Absentee Election

Manager for the Birmingham Division of Jefferson County, Alabama. She shares



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responsibility with Karen Dunn Burks for conducting or overseeing the absentee

ballot process for elections in Jefferson County, and is charged under Alabama law

with enforcing those Challenged Provisions that relate to absentee voting, processing

and distributing absentee ballot applications, and issuing, validating, and canvassing

absentee ballots.

      5.     Karen Dunn Burks is the Deputy Circuit Clerk and Absentee Election

Manager for the Bessemer Division of Jefferson County, Alabama. She shares

responsibility with Ms. Anderson-Smith for conducting or overseeing the absentee

ballot process for elections in Jefferson County, and is charged under Alabama law

with enforcing those Challenged Provisions that relate to absentee voting, processing

and distributing absentee ballot applications, and issuing, validating, and canvassing

absentee ballots.

      6.     The United States is in the midst of a public health emergency due to

the exponential spread of COVID-19, the respiratory disease caused by the novel

coronavirus SARS-CoV-2. This public health emergency has deeply affected

Alabama and is likely to continue to do so throughout the summer and fall of 2020,

if not longer. COVID-19 has a particularly devastating effect on Black individuals

and communities with higher rates of serious illness and death than other groups.

      7.     As a result of COVID-19, the Centers for Disease Control (“CDC”)

recommends that election officials encourage as many voters as possible to use



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“voting methods that minimize direct contact and reduce crowd size at polling

locations.”2 The CDC has urged election officials to offer “alternatives to in-person

voting,” to take any “feasible options for reducing the number of voters who

congregate indoors in polling locations at the same time,” and to offer “drive-up

voting for eligible voters,” including offering “curbside voting for sick voters” or to

any voters with COVID-19 like symptoms in order to “minimize exposure between

poll workers and voters.”3

          8.    The Plaintiffs filed their Amended Complaint, doc. 75, in this action

against, inter alia, the Jefferson County Defendants, on July 5, 2020, seeking

injunctive and declaratory relief against the Challenged Provisions. Plaintiffs allege

that, as applied in the COVID-19 crisis or on their face, the Challenged Provisions

violate the First, Fourteenth, and Twenty-Fourth Amendments to the United States

Constitution4; Title II of the ADA, 42 U.S.C. § 12131; and Sections 2 and 201 of the

VRA, 52 U.S.C. §§ 10301, 10302, 10501. See Amend. Compl., Doc. 75 at 66-77.

          9.    The Jefferson County Defendants do not admit that they have violated

the U.S. Constitution, the ADA, or the VRA, but they recognize the importance of




2
  Ctrs. for Disease Control & Prevention, Considerations for Election Polling Locations and
Voters: Interim guidance to prevent spread of coronavirus disease 2019 (COVID-19),
https://www.cdc.gov/coronavirus/2019-ncov/community/election-polling-locations.html.
3
    Id.
4
    The court dismissed the claims under the Twenty-Fourth Amendment. Doc. 161 at 21–23.


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the concerns asserted by Plaintiffs and the Jefferson County Defendants

acknowledge that the claims of Plaintiffs have a reasonable factual basis.

                             AGREED REMEDIAL TERMS

      10.    The Parties have agreed that this lawsuit should be resolved through the

terms of this Consent Order. The Jefferson County Defendants are committed to

fully complying with the mandates of the U.S. Constitution, the ADA, and the VRA

in all elections. Therefore, the Parties stipulate that each provision of this Consent

Order is appropriate and necessary. The Parties waive a hearing and entry of findings

of fact and conclusions of law on all issues involved in this Consent Order.

      The Court is satisfied that the Parties’ proposed order is a fair and reasonable

resolution of Plaintiffs’ claims.

      Accordingly, it is hereby ORDERED that:

      11.    The Jefferson County Defendants, in their official capacities, agree to

abide by any injunctions or orders of the Court affecting or relating to the

enforcement of the Challenged Provisions or any other aspect of their authority,

duties, or policies related to the administration of any elections in Jefferson County.

      12.    If the Court orders declaratory and/or injunctive relief against the State

of Alabama, Alabama Secretary of State, the probate judges, circuit clerks, and/or

absentee election managers in this action, the Jefferson County Defendants agree to

comply with the Court’s orders and to act in good faith to cooperate with Plaintiffs



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and the Court in carrying out all duties, actions, and activities under that injunction

that fall within the scope of the authority of the Jefferson County Defendants. Such

reasonable and good faith efforts shall include, but are not limited to, instructing all

local, city, county or other election officials or staff to accept any absentee ballot

applications submitted or absentee ballots cast in compliance with any orders of this

Court and acting to notify the public about any changes to election laws or voting

procedures brought about by this Order or any other order entered by this Court.

Except to the extent that this Court may enter any orders or injunctions that act to

enjoin state laws, policies, or practices, nothing in this Consent Order should be

construed to expand the scope of the authority of the Jefferson County Defendants.

      13.    If this Court enters any injunction or order against the Secretary of

State, the State of Alabama, probate judges, circuit clerks, and/or absentee election

managers in this action that affect the procedures, policies, or processes for counting,

accepting, or rejecting absentee ballot applications and/or absentee ballots and—if

for any reason such injunction or order is subsequently stayed—the Jefferson County

Defendants agree to apply the standards established by this Court’s injunction or

order to any absentee ballot application or absentee ballot received or postmarked

between the date of this Court’s injunction and the effective date of any stay order.

      14.    The Jefferson County Defendants agree to make a good faith effort to

implement any court ordered changes to Alabama laws or policies as requested in



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the Amended Complaint and contemplated by this Order before the November 3,

2020 election. The Jefferson County Defendants waive their right to appeal or to

seek a stay of any injunction entered by this Court enjoining the enforcement of any

aspect of the Challenged Provisions.

       15.     The Jefferson County Defendants admit that “Clay Helms, the Deputy

Chief of Staff and Director of Elections for the Alabama Secretary of State, testified

that a polling place with curbside voting would be feasible and permissible under

Alabama law if the curbside voting site: 1) used e-poll books; 2) placed a tabulation

booth at the site; and 3) assigned poll workers to work there.” Answer, Doc. 127 ¶

193.

       16.     Accordingly, if this Court enters an injunction, declaration, or any other

relief permitting curbside voting, the Jefferson County Defendants5 agree to: (1)

upon Plaintiffs’ request, confer with Plaintiffs to identify the potential polling

locations for curbside voting in any future elections, including the November 3, 2020

election; (2) exercise good faith and undertake reasonable efforts to provide curbside

voting in a manner that complies with state and federal law and the CDC guidelines

for voting in the COVID-19 pandemic in any future elections, including the



5
  Consistent with the court’s decision on the motions to dismiss, the court does not have jurisdiction
to order the circuit clerks to comply with any relief lifting the ban on curbside voting. Doc. 161
at 12. Accordingly, this aspect of the consent decree applies only to James Naftel II and Sherri
Friday, the probate judges for Jefferson County, and does not apply to Jacqueline Anderson-Smith
and Karen Dunn Burks, the circuit clerks for Jefferson County.

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November 3, 2020 election; and, (3) regardless of the pandemic, to continue to

comply with their October 27, 2016 settlement with the U.S. Department of Justice

to ensure that polling locations are accessible to people with disabilities 6 and, if

appropriate, to exercise good faith and undertake reasonable efforts to offer curbside

voting in a manner that complies with state and federal law at those polling locations

that are otherwise inaccessible to voters with ambulatory or other disabilities in any

future elections, including the November 3, 2020 election.

       17.    As between the Parties, each will bear its own costs, expenses, and fees

associated with this action, including attorneys’ fees and expert costs. The Jefferson

County Defendants will not be compelled to pay for the costs, expenses, or fees of

any other party to this action. However, this provision does not prevent the Plaintiffs

from seeking costs, expenses, or fees as permitted by law against any other party.

       18.    This Order is binding on the Jefferson County Defendants, and—to the

extent they perform any function relating to election activities—the Jefferson

County Defendants’ officers, clerks, attorneys, insurers, employees, representatives,

or agents or anyone acting or authorized to act on their behalf. This Order is also

binding on any successor in office to the positions of Circuit Clerk, Probate Judge,

or Absentee Election Manager in Jefferson County.


6
 “Settlement Agreement between the United States of America and Jefferson County, Alabama
Regarding the Accessibility of Polling Places,” available at https://www.justice.gov/usao-
ndal/press-release/file/905967/download.

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       19.    The Jefferson County Defendants shall retain all records concerning or

relevant to the subject matter of this action, this Order, or their efforts to comply

with this Order or any other injunctions or orders entered by the Court in this

litigation. Upon request, the Jefferson County Defendants shall produce information

and copies of any such materials to Plaintiffs within a reasonable period of time.

       20.    This Court shall retain jurisdiction over this action to ensure the Parties’

compliance with this Order and to grant such supplemental, further, or corrective

relief as the Parties may request or as the Court deems necessary or appropriate to

ensure compliance with this Order, the U.S. Constitution, Voting Rights Act, and/or

the Americans with Disabilities Act. The Parties shall endeavor to act in good faith

to resolve any disagreements arising under this Order before applying to this Court.

       21.    Provided that the Jefferson County Defendants satisfactorily and timely

comply with their duties under this Order and any of this Court’s other injunctions

or orders, the Jefferson County Defendants, individually, together and/or jointly with

Plaintiffs, may move this Court to dissolve this Order on or after December 31, 2021.

Before moving to dissolve this Order, the Jefferson County Defendants shall give

Plaintiffs at least thirty (30) days prior notice and, at Plaintiffs’ discretion, Plaintiffs

may join or oppose any dissolution motion filed by the Jefferson County Defendants.




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      This Court, having considered the foregoing stipulation of the parties, has

considered the terms of this Order and hereby incorporates and enters the terms and

relief set forth herein.



      DONE the 21st day of August, 2020.


                                      _________________________________
                                               ABDUL K. KALLON
                                        UNITED STATES DISTRICT JUDGE




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